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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING MCKOY,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s notice

of appeal (Filing No. 492) the denial of his 3582(c)(2) motion.

The Court will permit defendant to appeal in forma pauperis.

Accordingly,

           IT IS ORDERED that a certificate of appealability is

issued and defendant may proceed on appeal in forma pauperis.

           DATED this 6th day of August, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
